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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

  JAMES DURST,                                     )
          Plaintiff,                               )
      v.                                           )
                                                   ) Case No.: 1:11-cv-5823-JBS-
                                                   ) AMD
  DYNAMIC RECOVERY SOLUTIONS,                      )
          Defendant.                               )
                                                   )
                                                   )
                                                   )

                       NOTICE OF VOLUNTARY DISMISSAL

  TO THE CLERK:

        NOTICE IS HEREBY GIVEN that the above-captioned case has been

  DISMISSED with prejudice.


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